       Case 22-31121-mvl11                   Doc 20         Filed 07/08/22 Entered 07/08/22 18:25:41                              Desc Main
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 Fill in this information to identify the case
 Debtor name          Empire Prime Capital Investments Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          22-31121-mvl
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Wells Fargo Checking account                                  Checking account                    3   8   8     8                   $10.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
                                                                                                                                            $10.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor       Empire Prime Capital Investments Inc.                                         Case number (if known)      22-31121-mvl
             Name

                                                                                                                                 Current value of
                                                                                                                                 debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                 $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                 debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                   –                                        = .......................
                            face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                                      –                                        = .......................
                            face amount                         doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                 $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                            Valuation method                     Current value of
                                                                                            used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                 $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                    page 2
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Debtor       Empire Prime Capital Investments Inc.                                     Case number (if known)    22-31121-mvl
             Name

     General description                         Date of the       Net book value of    Valuation method              Current value of
                                                 last physical     debtor's interest    used for current value        debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                      $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method              Current value of
                                                                   debtor's interest    used for current value        debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                      $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                         page 3
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Debtor       Empire Prime Capital Investments Inc.                                      Case number (if known)    22-31121-mvl
             Name

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                       $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                       $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
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Debtor       Empire Prime Capital Investments Inc.                                       Case number (if known)    22-31121-mvl
             Name

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 1840 Forest Lane, Dallas, TX 75234
       Dallas CAD 2021 valuation                     Real Property                                 Dallas CAD                     $265,730.00

55.2. 1910 Forest Lane, Garland, TX 75042
       Dallas CAD 2021 Valuation                     Real Property                                 Dallas CAD                     $192,090.00

55.3. 1820 Forest Lane, Garland, TX 75042
       Dallas CAD 2021 Valuation                     Real Property                                 Dallas CAD                     $273,000.00

55.4. 4816 Tamanaco Court, Arlington, TX
       76017
       Tarrant CAD 2021 Valuation                    Real Property                                 Tarrant CAD                    $329,890.00
56. Total of Part 9.
                                                                                                                                $1,060,710.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
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63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                       $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

     General Star Indemnity Company liability and commercial property insurance policy for
     property located at 1820 Forest Lane, Garland, TX - no cash value                                                                 $0.00
     General Star Indemnity Company liability and commercial property insurance policy for
     property located at 1840 Forest Lane, Garland, TX and 1910 Forest Lane, Garland, TX - no cash
     value                                                                                                                             $0.00
74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     Security deposit for lease of premises located at 1840 Forest Lane, Dallas, Texas being held by
     Juan Favela                                                                                                                  $2,800.00
     Security deposit for lease of premises located at 1820 Forest Lane, Garland, Texas being held
     by Juan Favela                                                                                                               $2,400.00
     Security deposit for lease of premises located at 1910 Forest Lane, Dallas, Texas being held by
     Juan Favela                                                                                                                  $2,700.00




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                         page 6
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Debtor           Empire Prime Capital Investments Inc.                                                               Case number (if known)         22-31121-mvl
                 Name

78. Total of Part 11.
                                                                                                                                                                   $7,900.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                  $10.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................      $1,060,710.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +            $7,900.00

91. Total. Add lines 80 through 90 for each column.                        91a.                $7,910.00         +     91b.         $1,060,710.00



                                                                                                                                                                $1,068,620.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 7
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 Fill in this information to identify the case:
 Debtor name          Empire Prime Capital Investments Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          22-31121-mvl                                                                                 Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Prime Consulting, LLC                            subject to a lien                                     $49,382.90              $1,060,710.00

          Creditor's mailing address                       Real Property
          c/o Ryan Rouz                                    Describe the lien
          Rouz & Associatse, PLLC                          Business Debt / Judgment Lien
          1111 S. Akard St., Suite 405                     Is the creditor an insider or related party?
          Dallas                     TX   75215                 No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.
For 1820 Forest Lane, Garland, TX 75042: 1) Silver Hill Funding; 2) Prime Consulting, LLC. For 1840 Forest Lane, Dallas, TX
75234: 1) Silver Hill Funding; 2) Prime Consulting, LLC. For 1910 Forest Lane, Garland, TX 75042: 1) Silver Hill Funding; 2)
Prime Consulting, LLC. For 4816 Tamanaco Court, Arlington, TX 76017: 1) T Bank; 2) Prime Consulting, LLC.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                 $892,186.38


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
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Debtor       Empire Prime Capital Investments Inc.                                            Case number (if known) 22-31121-mvl

 Part 1:       Additional Page                                                                                Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.2     Creditor's name                                      Describe debtor's property that is
         Silver Hill Funding                                  subject to a lien                                    $625,803.48             $730,820.00

         Creditor's mailing address                           Real Property
         c/o Community Loan Servicing                         Describe the lien
         PO Box 740410                                        Business Debt / Agreement
                                                              Is the creditor an insider or related party?
         Cincinnati                 OH       45274                 No
                                                                   Yes
         Creditor's email address, if known
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                   No
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          3    3      0   7    As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
             Yes. Have you already specified the                  Disputed
                  relative priority?
                 No. Specify each creditor, including this
                 creditor, and its relative priority.
                 Yes. The relative priority of creditors is
                 specified on lines 2.1

 2.3     Creditor's name                                      Describe debtor's property that is
         T Bank                                               subject to a lien                                    $217,000.00             $329,890.00

         Creditor's mailing address                           Real Property
         c/o Tiffany L. martin                                Describe the lien
         Leggett Clemons Crandall PLLC                        Business Debt / Agreement
         5700 Granite Parkway, Suite 950                      Is the creditor an insider or related party?
         Plano                      TX       75024                 No
                                                                   Yes
         Creditor's email address, if known
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                   No
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
             Yes. Have you already specified the                  Disputed
                  relative priority?
                 No. Specify each creditor, including this
                 creditor, and its relative priority.
                 Yes. The relative priority of creditors is
                 specified on lines 2.1




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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 Fill in this information to identify the case:
 Debtor              Empire Prime Capital Investments Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-31121-mvl                                                                              Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the               $6,987.96           $6,987.96
                                                                claim is: Check all that apply.
Dallas County
                                                                    Contingent
co Linebarger Goggan Blair & Sampson                                Unliquidated
2777 N. Stemmons Frwy, Suite 1000                                   Disputed

                                                                Basis for the claim:
Dallas                                TX      75207             Estimated Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
2022
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
1840 Forest Lane, Dallas, TX


     2.2   Priority creditor's name and mailing address         As of the petition filing date, the               $5,051.43           $5,051.43
                                                                claim is: Check all that apply.
Dallas County
                                                                    Contingent
co Linebarger Goggan Blair & Sampson                                Unliquidated
2777 N. Stemmons Frwy, Suite 1000                                   Disputed

                                                                Basis for the claim:
Dallas                                TX      75207             Estimated Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
2022
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
1910 Forest Lane, Garland, TX



Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor      Empire Prime Capital Investments Inc.                                    Case number (if known)   22-31121-mvl

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.3    Priority creditor's name and mailing address       As of the petition filing date, the               $7,179.14         $7,179.14
                                                            claim is: Check all that apply.
Dallas County
                                                                Contingent
co Linebarger Goggan Blair & Sampson                            Unliquidated
2777 N. Stemmons Frwy, Suite 1000                               Disputed

                                                            Basis for the claim:
Dallas                             TX     75207             Estimated Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
2022
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
1820 Forest Lane, Garland, TX


  2.4    Priority creditor's name and mailing address       As of the petition filing date, the               $7,063.39         $7,063.39
                                                            claim is: Check all that apply.
Tarrant County
                                                                Contingent
c/o Sherrel K. Knighton                                         Unliquidated
Linbarger Goggan Blair & Sampson, LLP                           Disputed
2323 Bryan St., Ste. 1600
                                                            Basis for the claim:
Dallas                             TX     75201-2644        Estimated Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
2022
                                                                 No
Last 4 digits of account                                         Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )
4816 Tamanaco Court, Arlington, TX




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor        Empire Prime Capital Investments Inc.                                    Case number (if known)      22-31121-mvl

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:



Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3
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Debtor        Empire Prime Capital Investments Inc.                                        Case number (if known)   22-31121-mvl

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Ashby Townhomes LLC                                                   Line
         c/o Eric Rioja, Registered Agent                                             Not listed. Explain:
         309 W. Avenue B                                                              Notice Only


         Garland                       TX      75040


4.2      Eber Villanueva                                                       Line
         a/k/a Citywide Motors                                                        Not listed. Explain:
         1910 Forest Lane                                                             Notice Only


         Garland                       TX      75042
         Lease of premises

4.3      Empire Exotic Motors, Inc.                                            Line
         c/o Eric Rioja, Registered Agent                                             Not listed. Explain:
         309 W. Avenue B                                                              Notice Only


         Garland                       TX      75040


4.4      Eric Rioja                                                            Line
         c/o Connor Nash                                                              Not listed. Explain:
         James S. Bell, P.C.                                                          Notice Only
         2808 Cole Avenue
         Dallas                        TX      75204


4.5      Luis Leal                                                             Line
         1820 Forest Lane                                                             Not listed. Explain:
                                                                                      Notice Only


         Garland                       TX      75042
         Lease of premises

4.6      Matthew Oliver                                                        Line
         a/k/a The Car Network                                                        Not listed. Explain:
         1840 Forest Lane                                                             Notice Only


         Garland                       TX      75042
         Lease of premises

Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 4
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Debtor       Empire Prime Capital Investments Inc.                                Case number (if known)   22-31121-mvl

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                     On which line in Part 1 or Part 2 is the     Last 4 digits of
                                                                      related creditor (if any) listed?            account number,
                                                                                                                   if any

4.7      Robert W. Berleth                                            Line
         Berleth & Associates                                                Not listed. Explain:
         9950 Cypresswood, Suite 200                                         Notice Only


         Houston                    TX     77070
         Receiver




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                   page 5
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Debtor      Empire Prime Capital Investments Inc.                             Case number (if known)      22-31121-mvl

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                 $26,281.92

5b. Total claims from Part 2                                                              5b.   +                   $0.00


5c. Total of Parts 1 and 2                                                                5c.                 $26,281.92
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 6
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 Fill in this information to identify the case:
 Debtor name         Empire Prime Capital Investments Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-31121-mvl                             Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Lease of premises located at 1910               Eber Villanueva
          or lease is for and the       Forest Lane, Garland, TX                        a/k/a Citywide Motors
          nature of the debtor's        Contract to be ASSUMED
          interest                                                                      1910 Forest Lane

          State the term remaining
          List the contract
                                                                                       Garland                             TX            75042
          number of any
          government contract

2.2       State what the contract       Lease of premises located at 1820               Luis Leal
          or lease is for and the       Forest Lane, Garland, TX                        1820 Forest Lane
          nature of the debtor's        Contract to be ASSUMED
          interest

          State the term remaining
          List the contract
                                                                                       Garland                             TX            75042
          number of any
          government contract

2.3       State what the contract       Lease of premises located at 1840               Mathew Oliver
          or lease is for and the       Forest Lane, Dallas, TX                         a/k/a The Car Network
          nature of the debtor's        Contract to be ASSUMED
          interest                                                                      1840 Forest Lane

          State the term remaining
          List the contract
                                                                                       Dallas                              TX            75042
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify the case:
 Debtor name         Empire Prime Capital Investments Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-31121-mvl                                                                                   Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Eric Rioja                      309 W. Avenue B                                        Silver Hill Funding                   D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Garland                        TX      75040
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name Empire Prime Capital Investments Inc.

 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF TEXAS


 Case number (if known): 22-31121-mvl                                                                                                                                                            Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                 $1,060,710.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                        $7,910.00
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $1,068,620.00
         Copy line 92 from Schedule A/B........................................................................................................................................................................

 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...................................................... $892,186.38

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                       $26,281.92
         Copy the total claims from Part 1 from line 5a of Schedule E/F............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +                        $0.00
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................     $918,468.30




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Empire Prime Capital Investments Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-31121-mvl
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 07/08/2022                       X /s/ Juan D. Favela
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Juan D. Favela
                                                              Printed name
                                                              President
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
